                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             BRYSON CITY DIVISION

UNITED STATES OF AMERICA,                          )
                     Plaintiff,                    )
vs.                                                )      CASE NO. DNCW210CR000031-2
                                                   )      (Financial Litigation Unit)
EMERY LEE LITTLEJOHN,                              )
                             Defendant.            )
and                                                )
                                                   )
EASTERN BAND OF CHEROKEE INDIANS,                  )
                    Garnishee.                     )

             DISMISSAL OF ORDER OF CONTINUING GARNISHMENT

       Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Order of Continuing Garnishment filed in this case against Defendant

Emery Lee Littlejohn is DISMISSED.

                                               Signed: July 2, 2012




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